     Case 3:17-cv-02366-BAS-KSC       Document 406-16   Filed 02/12/20   PageID.31199
                                         Page 1 of 5



 1 JOSEPH H. HUNT
 2 Assistant Attorney General, Civil Division
   WILLIAM C. PEACHEY
 3 Director, Office of Immigration Litigation –
 4 District Court Section
   KATHERINE J. SHINNERS (DC 978141)
 5 Senior Litigation Counsel
 6 ARI NAZAROV (CT 414491)
   DHRUMAN Y. SAMPAT (NJ 270892018)
 7 ALEXANDER J. HALASKA (IL 6327002)
 8 Trial Attorneys
   United States Department of Justice
 9
   Civil Division
10 Office of Immigration Litigation
11 P.O. Box 868, Ben Franklin Station
   Washington, D.C. 20044
12 Tel: (202) 307-8704 | Fax: (202) 305-7000
13 alexander.j.halaska@usdoj.gov
14 Counsel for Defendants
15
16                    UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17                                    (San Diego)
18
   AL OTRO LADO, Inc., et al.,             Case No. 3:17-cv-02366-BAS-KSC
19
20                        Plaintiffs,      Hon. Cynthia A. Bashant
21                      v.                     Exhibit 15 to Defendants’ Opposition
22                                             to Plaintiffs’ Motion for Class
   Chad F. WOLF, Acting Secretary of           Certification
23
   Homeland Security, et al., in their offi-
24 cial capacities,
25
                              Defendants
26
27
28
Case 3:17-cv-02366-BAS-KSC   Document 406-16   Filed 02/12/20   PageID.31200
                                Page 2 of 5
Case 3:17-cv-02366-BAS-KSC   Document 406-16   Filed 02/12/20   PageID.31201
                                Page 3 of 5
Case 3:17-cv-02366-BAS-KSC   Document 406-16   Filed 02/12/20   PageID.31202
                                Page 4 of 5
Case 3:17-cv-02366-BAS-KSC   Document 406-16   Filed 02/12/20   PageID.31203
                                Page 5 of 5
